     Case 8:19-cr-00061-JVS Document 1033-1 Filed 10/28/22 Page 1 of 2 Page ID #:25222




 1

 2
 3

 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
                                    EXHIBIT HH
28
Case 8:19-cr-00061-JVS Document 1033-1 Filed 10/28/22 Page 2 of 2 Page ID #:25223

                               HIGH PROFILE FRAUD CASES
                      Correlation Between Loss and the Resultant Sentence
                               (ranked most severe to less severe)



      Offender                                        Loss           Sentence           $ per mo.
      Michael Avenatti                            $12,350,0001           210                 58,810
      (as proposed by Gov)
      Michael Avenatti                             $12,350,000           151                 81,788
      (as proposed by USPO)
      Martin Shkreli                               $10,400,000            84               123,810
      John Miller                                  $21,000,000           159               132,075
      Gary Vanwaeyenberghe                         $25,521,966           168               151,916
      Michael Avenatti                             $12,350,000            72               171,528
      (as proposed by Def)
      Sujata Sachdeva                              $34,000,000           132               257,576
      Calude LeFebrve                              $64,850,000           240               270,208
      Jeff Skilling                                $80,000,000           288               277,778
      Billy McFarland                              $26,000,000            72               361,111
      Joseph Nacchio                               $28,000,000            72               388,889
      Kevin S. Jackson                             $20,000,000            51               392,157
      Raj Rajaratnam                               $53,800,000           132               407,576
      Timothy Rigas                               $102,000,000           240               425,000
      Morad Abu Sliman                             $26,000,000            57               456,140
      Frederick Darren Berg                       $128,827,051           216               596,422
      John Rigas                                  $102,708,142           144               713,251
      Mark Turckan                                 $25,000,000            12              2,083,333
      Marc Dreier                                 $700,000,000           240              2,916,667
      Ronald Ferguson                             $500,000,000            24            20,833,333
      Bernard Ebbers                          $11,000,000,000            300            36,666,667

  1
    As discussed in defendant’s sentencing position, defendant in no way concedes that the loss
  amount at issue is $12,350,000. For the purposes of this analysis, this sum is used to establish that
  even using the loss amount claimed by the government, the sentences recommended by the
  government and Probation are entirely unreasonable. The degree of unreasonableness only
  increases as the loss amount decreases.
